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                             Exhibit 1
                  Declaration of Yitzchok Frankel
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  From: Nieves, Benito <                             >
  Date: Fri, Apr 26, 2024 at 5:23 PM
  Subject: Follow-up and Resources
  To: Frankel, Yitzy <                              >


  Dear Yitzy,

  Thank for meeting with me today. During our time together, you shared reflections about an April
  18, 2024, incident where you were "targeted" and "harassed" by another student, which you believe
  was based on your Jewish identity and what you were wearing. You shared that this took place in
  the law school courtyard.

  As I shared during this meeting, I will be sharing your reflections with my colleagues in the UCLA
  Office of Equity, Diversity, and Inclusion. Additionally, I am providing resources for you, below:


       1. During our meeting, you reflected that this interaction did not affect your mental health
          negatively; however, I would be remiss if I did not share a resource with you, if that
          reflection changes. As such, I am sharing a link to Counseling & Psychological Services:
          https://counseling.ucla.edu

       2. During our meeting, you provided a reflection that during a group chat interaction, an
          individual called you "old" and that another student defended you, addressing the
          comment as "ageist." UCLA is committed to creating a community free from bias and
          intolerance. If you have experienced a hostile climate incident, please consider filing a
          report at http://www.deanofstudents.ucla.edu/Report-an-Incident-of-BIAS (You do not
          need to do this for the matter involving the comment during the April 18 courtyard incident,
          as that matter is already reported.)


  Please let me know if you have any questions.

  Benito Nieves
  Associate Dean of Students
  Office of Student Conduct / Office of the Dean of Students
  1104 Murphy Hall
  Los Angeles, CA 90095




  Main: 310-825-3871
  Direct:
  Email:

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  Yitzy A. Frankel
  c.




                             FRANKEL DECLARATION EXHIBIT 1
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